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19                              UNITED STATES DISTRICT COURT

20                             NORTHERN DISTRICT OF CALIFORNIA

21                                     OAKLAND DIVISION
22   ANGIOSCORE, INC.,                     )
                                           )           CASE NO.: 4:12-CV-3393-YGR
23              Plaintiff,                 )
                                           )
24          v.                             )           [PROPOSED] AMENDED
                                           )           JUDGMENT
25   TRIREME MEDICAL, LLC (f/k/a TRIREME   )
     MEDICAL, INC.), EITAN KONSTANTINO,    )
26   QUATTRO VASCULAR PTE LTD., and QT     )
     VASCULAR LTD. (f/k/a QT VASCULAR PTE. )
27   LTD.),                                )
                                           )
28              Defendants.                )
     [PROPOSED] AMENDED JUDGMENT                                      CASE NO. 12-CV-3393-YGR
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     [PROPOSED] AMENDED JUDGMENT                             CASE NO. 12-CV-3393-YGR
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 1           Trial without a jury on the Third Cause of Action for Breach of Fiduciary Duty Under

 2   Delaware Law, the Fourth Cause of Action for Aiding and Abetting a Breach of Fiduciary Duty,

 3   and the Fifth Cause of Action for Unfair Competition Under California Business and Professions

 4   Code § 17200 alleged in the Fourth Amended Complaint (Dkt. No. 244) commenced in this matter

 5   on April 13, 2015 and concluded on April 21, 2015. The Court entered its Findings of Fact and

 6   Conclusions of Law on July 1, 2015 (Dkt. No. 665). On March 3, 2015, the Court granted

 7   Plaintiff AngioScore, Inc.’s unopposed oral motion to voluntarily dismiss the Second Cause of

 8   Action of the Fourth Amended Complaint (Dkt. No. 244).

 9           A jury trial on the First Cause of Action alleging Patent Infringement in the Fourth

10   Amended Complaint commenced in this matter on September 9, 2015, with jury selection, and on

11   September 14, 2015, with opening statements and evidence. The jury rendered its verdict on

12   September 29, 2015, and the verdict form was duly recorded (Dkt. No. 790).

13           On November 8, 2016, the United States Court of Appeals for the Federal Circuit issued an

14   Opinion (Dkt. No. 848) and Judgment (Dkt. No. 849), vacating-in-part this Court’s October 14,

15   2015 Judgment and remanding with instructions to dismiss the state law claims in this case for

16   lack of jurisdiction. The Mandate of the United States Court of Appeals for the Federal Circuit

17   issued on November 17, 2016.

18           IT IS ORDERED, ADJUDGED, AND DECREED as follows:

19   1.      Judgment is ENTERED in favor of Defendants Eitan Konstantino, TriReme Medical,

20           LLC, Quattro Vascular Pte Ltd., and QT Vascular Ltd. on the First Cause of Action in the

21           Fourth Amended Complaint. Claims 1, 2, 3, 8 and 9 of United States Patent No.

22           7,691,119 (“the ’119 patent”) are not infringed by the accused Chocolate PTA Balloon

23           Catheter products and are invalid. Accordingly, Plaintiff AngioScore, Inc. is to recover

24           nothing with respect to the First Cause of Action in the Fourth Amended Complaint

25   2.      AngioScore’s First Cause of Action is DISMISSED WITH PREJUDICE with respect to

26           claims 4, 5, 6 and 7 of the ’119 patent.

27   3.      AngioScore’s Second Cause of Action is DISMISSED WITHOUT PREJUDICE.
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     [PROPOSED] AMENDED JUDGMENT                                               CASE NO. 12-CV-3393-YGR
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          Case 4:12-cv-03393-YGR Document 860 Filed 02/03/17 Page 4 of 4



 1   4.      AngioScore’s Third, Fourth, and Fifth Causes of Action are DISMISSED WITHOUT

 2           PREJUDICE.

 3   5.      [AngioScore proposes: No costs are awarded in view of the parties’ agreement not to

 4           seek costs in this matter.]

 5           [Defendants propose: The Court need not address an award of costs in the judgment

 6           since Defendants have not yet submitted their bill of costs. Nevertheless, if the Court

 7           does address the issue: Defendants are entitled to costs under 28 U.S.C. §§ 1919 &

 8           1920.]

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     Date: ___________________,
               February 3       2017
11                                                 Hon. Yvonne Gonzalez Rogers
                                                   United States District Judge
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     [PROPOSED] AMENDED JUDGMENT                                               CASE NO. 12-CV-3393-YGR
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